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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

JAC’QUANN (ADMIRE)
HARVARD, et al.,

            Plaintiffs,

v.                                           CASE NO.: 4:19cv212-MW/MAF

MARK INCH, Secretary of Florida
Department of Corrections, et al.,

          Defendants.
___________________________________/

              ORDER ON PARTIES’ EMERGENCY MOTIONS

      This Court has considered, after a hearing on February 9, 2021, Plaintiffs’

Emergency Motion, ECF No. 241, and Defendants’ Emergency Motion, ECF No.

242. For the reason provided on the record, the motions are GRANTED in part and

DENIED in part.

      The Magistrate Judge’s Order, ECF No. 240, is stayed for fourteen days. If,

at the end of the fourteen-day period, the parties do not file any objections to the

Order, the stay shall be lifted and both parties will be subject to the Order. If,

however, either party files an objection, the stay will remain in place pending a

review by this Court.

      Additionally, the two scheduled Rule 34 Inspections—Hamilton and Union

Correctional Institution—shall move forward as planned except the start time at
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Hamilton will be delayed. For these inspections, the parties are bound by their

stipulation, ECF No. 157, and not the Magistrate Judge’s Order.

      SO ORDERED on February 9, 2021.

                                     s/Mark E. Walker
                                     Chief United States District Judge




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